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  8
                         IN THE UNITED STATES DISTRICT COURT

  9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 10

 11
       SOCIAL POSITIONING INPUT
 12    SYSTEMS, LLC,
                                                    CASE NO.: 3:21-cv-01221-GPC-MSB
 13                  Plaintiff,
 14           v.
                                                    STIPULATION OF DISMISSAL
 15    BOOMR, INC.,
 16                  Defendant.
 17

 18
             Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) (“[T]he plaintiff may dismiss an
 19
      action without a court order by filing . . . a stipulation of dismissal signed by all parties
 20
      who have appeared.”), Plaintiff Social Positioning Input Systems, LLC and
 21
      Defendant Boomr, Inc., by their respective undersigned counsel, hereby STIPULATE
 22
      and AGREE as follows:
 23
             1.     All claims asserted by the Plaintiff in this Action are dismissed with
 24
      prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
 25
             2.     Each party shall bear its own costs and attorneys’ fees with respect to the
 26
      matters dismissed hereby; and
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                                  STIPULATION OF DISMISAL WITH PREJUDICE
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  1          3.   This Stipulation and Order shall finally resolve the Action between the
  2   parties.
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  4   Dated: November 6, 2021              Respectfully submitted,
  5

  6
                                           /s/ Stephen M. Lobbin
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 12                                        Input Systems, LLC

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 14                                        /s/ Phillip D. Dracht
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                                           Attorneys for Defendant and
 23
                                           Counterclaim Plaintiff Boomr, Inc.
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                             STIPULATION OF DISMISAL WITH PREJUDICE
